                                              Case 22-52950-pmb                         Doc 201    Filed 07/31/24              Entered 07/31/24 15:46:52                         Desc
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                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    22-52950-PMB                                                                                                                      Trustee Name:        (300320) S. Gregory Hays
Case Name:      ATLANTA LIGHT BULBS, INC.                                                                                                      Date Filed (f) or Converted (c): 07/07/2022 (c)
                                                                                                                                               § 341(a) Meeting Date:       08/16/2022
For Period Ending:      06/30/2024                                                                                                             Claims Bar Date: 10/24/2022

                                                     1                                                 2                              3                            4                      5                          6

                                            Asset Description                                       Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                         Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                     Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                        and Other Costs)                                                             Remaining Assets

    1       Funds Turned over from Chapter 11 Trustee (u)                                                   6,906.12                           6,906.12                                        6,906.12                           FA
            Accounts receivable deposits from Chapter 11 case.

    2       Accounts Receivable (u)                                                                        14,617.52                          14,617.52                                        2,877.74                           FA
            No further collections expected

    3*      Security Deposit 2109 Mountain Ind Blvd, Tucker, GA (u) (See Footnote)                          7,166.66                           7,166.66                                        3,583.33                           FA

    4       Tax Refund (u)                                                                                      639.57                           639.57                                          639.57                           FA

    5       2020 Ford T250 (VIN last six # B23773) (u)                                                     37,450.00                                0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt #87.

    6       2021 Ford F150 (VIN last six # B50953) (u)                                                     80,675.00                                0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt #87.

    7       2021 Ford F250 (VIN last six # D85279) (u)                                                     79,125.00                                0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt #87.

    8       2021 Ford F150 (VIN last six # D64134) (u)                                                     58,650.00                                0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt #87.

    9       2021 Ford F150 (VIN last six # B90817) (u)                                                     62,900.00                                0.00           OA                                 0.00                        FA
            Notice of abandonment filed, Dkt #87.

    10      2019 Ford E350 (VIN last six # C60873) (u)                                                     45,459.00                           5,856.67            OA                                 0.00                        FA
            Notice of abandonment filed, Dkt #87.

    11      2019 Ford E350 (VIN last six # C60881) (u)                                                     44,859.00                           5,187.78            OA                                 0.00                        FA
            Notice of abandonment filed, Dkt #87.

    12      Obsolete inventory; lighting and fixtures considered as ‘recyclables’ (u)                             0.00                              0.00           OA                                 0.00                        FA
            No value. Notice of abandonment filed, Dkt # 123.

    13      Storage Racking located at 2109 Mountain Industrial (u)                                               0.00                              0.00           OA                                 0.00                        FA
            No value. Notice of abandonment filed, Dkt # 123.
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                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:    22-52950-PMB                                                                                                                      Trustee Name:        (300320) S. Gregory Hays
Case Name:       ATLANTA LIGHT BULBS, INC.                                                                                                     Date Filed (f) or Converted (c): 07/07/2022 (c)
                                                                                                                                               § 341(a) Meeting Date:       08/16/2022
For Period Ending:      06/30/2024                                                                                                             Claims Bar Date: 10/24/2022

                                                      1                                                 2                             3                            4                      5                          6

                                             Asset Description                                       Petition/                Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                  (Scheduled And Unscheduled (u) Property)                         Unscheduled           (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                      Values                Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                        and Other Costs)                                                             Remaining Assets

    14      Office furniture located at 2 Sun Court including (a) 3 - 5 cubicle office systems,              3,000.00                               0.00           OA                                 0.00                        FA
            (b) 8 – 3 drawer cabinets which slide under the cubicle desks, (c) 1 – 4 door
            credenza and (d) 1 – office chair. (u)
            No value. Notice of abandonment filed, Dkt # 123.

   15*      Adversary 22-05123-pmb S. Gregory Hays, As Chapter 7 Trustee For Atlanta v.                 2,414,543.32                       2,414,543.32                                       56,428.00                   73,572.00
            Taitz et al (u)
            Transfers to insiders. (See Footnote)

   16*      Adversary 23-05043-pmb Chapter 7 Trustee For Atlanta v. OSRAM Sylvania Inc.                     58,370.32                         58,370.32                                       44,979.00                           FA
            (u)
            Preference claim (See Footnote)

    17      Misc Other Small Recoveries. (u)                                                                 1,000.00                          1,000.00                                          713.39                           FA

    18      BleachTech V UPS - Class Action (u)                                                                  35.37                            35.37                                           35.37                           FA

   18       Assets                Totals        (Excluding unknown values)                             $2,915,396.88                      $2,514,323.33                                    $116,162.52                   $73,572.00


     RE PROP# 3             One half of security deposited applied to pre-petition rent per Consent Order, Dkt # 170.

     RE PROP# 15            Settled for $130,000 per Order, Dkt # 198. $15,000 up front and nine payments of $15,000.

     RE PROP# 16            Settled for $45,000 per Order, Dkt # 193.
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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case No.:    22-52950-PMB                                                                                              Trustee Name:     (300320) S. Gregory Hays
Case Name:     ATLANTA LIGHT BULBS, INC.                                                                               Date Filed (f) or Converted (c): 07/07/2022 (c)
                                                                                                                       § 341(a) Meeting Date:   08/16/2022
For Period Ending:   06/30/2024                                                                                        Claims Bar Date: 10/24/2022


      Major Activities Affecting Case Closing:
                                  4/15/2022 - Involuntary petition filed against debtor.

                                  6/17/2022 - Chapter 11 Trustee appointed.

                                  7/7/2022 - Order entered converted to Chapter 7.

                                  Trustee has abandon all physical assets as burdensome, fully exempt with no equity, fully encumbered and/or of inconsequential value and benefit to
                                  Debtor’s estate.

                                  6/30/2023 - Trustee is in negotiations to resolve two open adversaries and expects to file motions approving settlements shortly. Upon collection of
                                  settlement payments from adversaries, Trustee will submit his closing package.

                                  12/22/2023 - Adversary # 22-05123 (Hays v Taitz et al) settled for $130,000 with $15,000 down and $12,777.77 in nine monthly installments per Order
                                  (Dkt # 198).

                                  6/30/2024 - Taitz et al have paid $56,428 to date of $130,000 settlement.


      Initial Projected Date Of Final Report (TFR):          12/31/2024                                Current Projected Date Of Final Report (TFR):              06/30/2025
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                                                                      Cash Receipts And Disbursements Record
Case No.:                        22-52950-PMB                                                                 Trustee Name:                     S. Gregory Hays (300320)
Case Name:                       ATLANTA LIGHT BULBS, INC.                                                    Bank Name:                        East West Bank
Taxpayer ID #:                   **-***7884                                                                   Account #:                        ******0505 Checking
For Period Ending:               06/30/2024                                                                   Blanket Bond (per case limit):    $27,655,000.00
                                                                                                              Separate Bond (if applicable):    N/A

    1            2                                   3                                                         4                                            5                       6                      7

  Trans.    Check or                     Paid To / Received From                           Description of Transaction                    Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                                     Tran. Code          $                        $

 07/08/22     {1}        Atlanta Light Bulbs, Inc.                     Transfer from Chapter 11 Trustee to Chapter 7 Trustee             1290-010                6,906.12                                       6,906.12
 07/13/22     {2}        LMI Systems LLC                               Invoice # 21586275                                                1221-000                   140.94                                      7,047.06
 07/13/22     {2}        Voss Lighting                                 Invoice # 1002, PO # 6527123                                      1221-000                   997.50                                      8,044.56
 07/22/22     {17}       American Express                              Sales                                                             1229-000                     2.65                                      8,047.21
 07/29/22                East West Bank                                Bank and Technology Services Fees                                 2600-000                                          7.18                 8,040.03
 08/22/22     {2}        Vital Farms                                   Invoice # 3483079 Dated 2/24/22                                   1221-000                   842.82                                      8,882.85
 08/29/22     {2}        Apalachee Woods HOA                           Accounts Receivable - Invoice # 1185                              1221-000                   519.40                                      9,402.25
 08/31/22                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         14.56                 9,387.69
 09/30/22                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         15.04                 9,372.65
 10/07/22     {17}       Fedex                                         Refund                                                            1229-000                     0.58                                      9,373.23
 10/31/22                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         14.52                 9,358.71
 11/30/22     {2}        Anixter Inc.                                  Auto Tax Deduction - Resale                                       1221-000                   138.60                                      9,497.31
 11/30/22                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         15.99                 9,481.32
 12/30/22                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         15.18                 9,466.14
 01/06/23     {2}        QES Company DBA Quality Electrical Systems    Accounts Receiable                                                1221-000                    70.00                                      9,536.14
 01/10/23     {3}        Breit Stone Mountain Owner LLC                One half of security deposit per Consent Order, Dkt # 170.        1229-000                3,583.33                                      13,119.47
 01/13/23     {4}        United States Treasury                        2019 - Form 1120 Tax Refund                                       1224-000                   639.57                                     13,759.04
 01/31/23                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         20.70                13,738.34
 02/28/23                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         20.54                13,717.80
 03/31/23                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         22.71                13,695.09
 04/28/23                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         20.48                13,674.61
 05/08/23     {17}       Sysco Corporation                             Inv-35198148 - Vendor Refund                                      1229-000                    98.23                                     13,772.84
 05/26/23     {17}       Comcast Business                              Acct # 904700279 Refund                                           1229-000                   611.93                                     14,384.77
 05/31/23                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         24.25                14,360.52
 06/05/23     {2}        Lawson Products Inc                           Invoice # 3481191                                                 1221-000                   119.80                                     14,480.32
 06/06/23     {18}       BleachTech V UPS                              Class Action Settlement BleachTech V UPS                          1249-000                    35.37                                     14,515.69
 06/20/23     {2}        University of California, San Francisco       Accounts Receivable, Invoice # 3483132                            1221-000                    48.68                                     14,564.37
 06/30/23                East West Bank                                Bank and Technology Services Fees                                 2600-000                                         23.23                14,541.14
                                                                                                                                    Page Subtotals:          $14,755.52                 $214.38


{ } Asset Reference(s)                                                                                                                                                       ! - transaction has not been cleared
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                                                                         Cash Receipts And Disbursements Record
Case No.:                       22-52950-PMB                                                                   Trustee Name:                      S. Gregory Hays (300320)
Case Name:                      ATLANTA LIGHT BULBS, INC.                                                      Bank Name:                         East West Bank
Taxpayer ID #:                  **-***7884                                                                     Account #:                         ******0505 Checking
For Period Ending:              06/30/2024                                                                     Blanket Bond (per case limit):     $27,655,000.00
                                                                                                               Separate Bond (if applicable):     N/A

    1            2                                3                                                            4                                              5                       6                      7

  Trans.    Check or                   Paid To / Received From                             Description of Transaction                      Uniform          Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                                                                       Tran. Code          $                        $

 07/31/23                East West Bank                                   Bank and Technology Services Fees                               2600-000                                           22.52               14,518.62
 08/31/23                East West Bank                                   Bank and Technology Services Fees                               2600-000                                           25.59               14,493.03
 09/29/23                East West Bank                                   Bank and Technology Services Fees                               2600-000                                           22.45               14,470.58
 10/31/23                East West Bank                                   Bank and Technology Services Fees                               2600-000                                           24.73               14,445.85
 11/09/23     {16}       Osram Syvania Inc.                               Settlement of preference claim, Adversary # 23-05043. Per       1241-000                 44,979.00                                     59,424.85
                                                                          Order, Dkt # 193. Wire memo '1/OSRAM GMBH' $21.00 Wire
                                                                          fee assessed.
 11/30/23                East West Bank                                   Bank and Technology Services Fees                               2600-000                                           73.61               59,351.24
 12/29/23                East West Bank                                   Bank and Technology Services Fees                               2600-000                                           91.95               59,259.29
 01/31/24                East West Bank                                   Bank and Technology Services Fees                               2600-000                                          104.21               59,155.08
 02/29/24                East West Bank                                   Bank and Technology Services Fees                               2600-000                                           91.39               59,063.69
 03/29/24                East West Bank                                   Bank and Technology Services Fees                               2600-000                                           91.25               58,972.44
 04/23/24                Law Offices of Henry F. Sewell, Jr. LLC IOLTA    Settlement of adversary 22-05123. Payment per Order, Dkt #                               45,000.00                                  103,972.44
                         Account                                          198. Payments by Defendants to Trustee's counsel.
              {15}                                                        Combined payments on Asset #15 Adversary 22-05123-pmb S.        1241-000
                                                                          Gregory Hays, As Chapter 7 Trustee For Atlanta v. Taitz et al
                                                                                                                            $45,000.00
 04/30/24                East West Bank                                   Bank and Technology Services Fees                               2600-000                                          114.92            103,857.52
 05/21/24                Law Offices of Henry F. Sewell, Jr. LLC IOLTA    Settlement of adversary 22-05123. Payment per Order, Dkt #                               11,428.00                                  115,285.52
                         Account                                          198. Payments by Defendants to Trustee's counsel.
              {15}                                                        Combined payments on Asset #15 Adversary 22-05123-pmb S.        1241-000
                                                                          Gregory Hays, As Chapter 7 Trustee For Atlanta v. Taitz et al
                                                                                                                            $11,428.00
 05/31/24                East West Bank                                   Bank and Technology Services Fees                               2600-000                                          177.01            115,108.51
 06/28/24                East West Bank                                   Bank and Technology Services Fees                               2600-000                                          171.71            114,936.80

                                                                            COLUMN TOTALS                                                                       116,162.52                 1,225.72          $114,936.80
                                                                                     Less: Bank Transfers/CDs                                                           0.00                    0.00
                                                                            Subtotal                                                                            116,162.52                 1,225.72
                                                                                     Less: Payments to Debtors                                                                                  0.00

                                                                            NET Receipts / Disbursements                                                      $116,162.52                 $1,225.72




{ } Asset Reference(s)                                                                                                                                                         ! - transaction has not been cleared
                                          Case 22-52950-pmb   Doc 201       Filed 07/31/24       Entered 07/31/24 15:46:52              Desc
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                                                        Cash Receipts And Disbursements Record
Case No.:                  22-52950-PMB                                             Trustee Name:                 S. Gregory Hays (300320)
Case Name:                 ATLANTA LIGHT BULBS, INC.                                Bank Name:                    East West Bank
Taxpayer ID #:             **-***7884                                               Account #:                    ******0505 Checking
For Period Ending:         06/30/2024                                               Blanket Bond (per case limit): $27,655,000.00
                                                                                    Separate Bond (if applicable): N/A


                                        Net Receipts:         $116,162.52
                           Plus Gross Adjustments:                  $0.00
                         Less Payments to Debtor:                   $0.00
                 Less Other Noncompensable Items:                   $0.00

                                          Net Estate:         $116,162.52




                                                                TOTAL - ALL ACCOUNTS                    NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                ******0505 Checking                           $116,162.52             $1,225.72     $114,936.80

                                                                                                                $116,162.52                  $1,225.72    $114,936.80
